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                             IN THE UNITED STATES DISTRICT COURT
                                                                                         JUN - (o 2016
                             FOR THE EASTERN DISTRICT OF VIRGINIA
                                       NORFOLK DIVISION
                                                                                   ci.EHK. US dsraiCT court
                                                                                           NOHFO! K VA
 RONALD W. WALDEN JR.,
 an individual,

                Plaintiff,                             Case No: ^ './(t Cv/
 V.



 KUBER HOSPITALITY CORP.
 a Virginia Corporation,

                Defendant.



                                        COiVlPLAINT

          Plaintilf, RONALD W. WALDEN JR., an individual, by and through his undersigned

 counsel, hereby files this Complaint and sues KUBER HOSPITALITY CORP., a Virginia

 corporation, for injunctive relief, attorneys" fees and costs pursuant to 42 U.S.C. §§ 12181 et seq.,

 ("Americans with Disabilities Act" or "ADA") and damages pursuant to the law of the

 Commonwealth of Virginia and states as follows:

                                  JURISDICTION AND PARTIES

          1.    This is an action for declaratory and injunctivc relief pursuant to Title III of the

Americans with Disabilities Act, 42 U.S.C. §§ 12181, et^.. (the "ADA"). This Court is vested

with original jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1343. This Court has supplemental

jurisdiction over the subjcct matter of all other claims pursuant to 28 U.S.C. §1367(a).

          2.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the

Defendant's Property, which is the subject of this action, is located in the Eastern District of

Virginia.
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        3.       Plaintiff, RONALD W. WALDEN JR., ("MR. WALDEN" or "Plaintiff") is a

resident of the Commonwealth of Virginia. MR. WALDEN lives in Suffolk, Virginia.

        4.       MR. WALDEN is a qualified individual with a disability under the ADA. Mr.

Walden is diagnosed with Osteogenesis imperfecta and uses a wheelchair for his primary means of

mobility.

        5.       Due to his disability, Plaintiff is substantially impaired in several major life

activities, such as walking and standing, and requires a wheelchair for mobility.

        6.       Upon information and belief, KUBER HOSPITALITY CORP., a Virginia

 Corporation ("Defendant"), is the owner, lessee, and/or operator of the place of public

 accommodation including the real property and improvements, which are the subject of this action,

to wit; Cheetah's Gentlemen's Club, generally located at 1808 Diamond Springs Rd., Virginia

 Beach, Virginia 23455 ("the Property"). The Defendant is responsible for complying with all

obligations of the ADA.

        7.       All events giving rise to this lawsuit occurred in the Eastern District of Virginia.

                                              COUNT I
                           (VIOLATION OF TITLE III OF THE ADA)

        8.      The allegations set forth in the precedingparagraphs are incorporated by reference

as if fully set forth herein.

        9.      The Property is a place of public accommodation and is therefore subject to Title

III of the ADA.

        10.      MR. WALDEN has visited the Property and plans to return to the Property in the

near future.
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        11.     During his visit, MR. WALDEN experienced serious difficulty accessing the goods

and utilizing the services therein due to the architectural barriers discussed herein.

        12.     MR. WALDEN continues to desire to visit the Property, but continues to

experience serious ditTiculty due to the barriers discussed herein, which still exist.

        13.     MR. WALDEN plans to and will visit the Property once the barriers discussed

herein and any other barriers have been removed.

        14.     Defendant has discriminated, and continues to discriminate, against Plaintiff in

violation of 42 U.S.C. §§ 12181 et seg. and 28 C.F.R. §§ 36.302 M seg^ by excluding and/or

denying Plaintiff the benefits of the goods and services located on the Property and by failing to

provide and/or correct the following barriers to access, which Plaintiff personally observed and

encountered:


                A.      PlaintifY encountered inaccessible parking throughout the Property due to a

                        lack of parking designated as accessible;

                B.      Plaintiffencountered inaccessible routes throughout the Property due to a

                        lack of curb cut access, excessiveslopes, and lack of proper handrails;

                C.      Plaintiff encountered an inaccessible restroom due to excessively narrow

                        route to bathroom, lack of grab bars, narrow entry, and flush valve on

                        incorrect side of toilet; and

                D.      Plaintiffencountered inaccessible bar due to lack of lowered portion.

        15.     Upon information and belief, there are other current violations of the ADA at the

Property, and only after a full inspection is perfonned bythe Plaintiff or PlaintilFs representatives

can all said violations be identified.
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        16.    To date, these barriers and other violations of the ADA still exist and have not been

remedied or altered in such a way as to effectuate compliance with the provisions of the ADA.

        17.    Independent of his intent to return as a patron of the Property, Plaintiffadditionally

intends to return to the Property as an ADA tester to determine whether the barriers to access stated

herein have been remedied.


        18.    Removal of the barriers to access located on the Property is readily achievable,

reasonably feasible and easily accomplishable without placing an undue burden on the Defendant.

        19.    Removal of the barriers to access located on the Property would allow Plaintiff to

fully utilize the goods and services located therein.

       20.     The Plaintiff has been obligated to retain the undersigned counsel for the filing and

prosecution of this action. Plaintiff is entitled to have his reasonable attorneys' fees, costs, and

expenses paid by Defendant pursuant to 42 U.S.C. § 12205.

                                             COUNT 11
                                  mRGlNlA STATE CLAIM)


       21.     Plaintiff realleges and incorporates into this cause of action each and every

allegation contained in the preceding paragraphs of this Complaint.

       22.     Defendant's Property is a place of public accommodation under Section 51.5-44 of

the Code of Virginia.

       23.     The architectural barriersand otheraccessibility barriers institute an ongoingact of

discrimination against the Plaintiffas a person with a disability in violation of Section 51.5-44 of

the Code of Virginia.
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       24.     As a direct and proximate result of Defendant's intentional and negligent failure to

remove its barriers to access. Plaintiff has been denied access and his civil rights have been

violated.


       25.     Consequently, the Plaintiff seeks monetary damages from the Defendant pursuant

to Section 51.5-46 of Code of Virginia for the discrimination he has experienced and continues to

experience.

                                     PRAYER FOR RELIEF


        WHEREFORE, the Plaintiff demands judgment against Defendant and requests the

following injunctive and declaratory relief:

       A.      The Court declare that the Property owned and administered by Defendant is

               in violation of the ADA;

        B.     The Court enter an Order directing Defendant to alter its facilities to make

               them accessible to and useable by individuals with disabilities to the full

               extent required by Title III of the ADA;

       C.      The Court enter an Order directing Defendant to evaluate and neutralize its

               policies and procedures towards persons with disabilities for such reasonable

               time so as to allow Defendant to undertake and complete corrective

               procedures;

       D.      TheCourt award reasonable attorneys" fees, costs (including expert fees), and

               other expenses of suit, to the Plaintiff;
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    E.    The Court award such other and further relief as it deems necessary, just and

          proper;


    F.    This Court issue a Declaratory Judgment that the Defendant has violated the

          Virginia's Rights of Person with Disabilities Act:

    G.    This Court orders the Defendant to alter the aforesaid premises to make such

          facilities accessible to and usable by individuals with disabilities to the extent

          required by the Virginia Statewide Building Code;

    H.    This Court award Plaintiffmonetary damages from the Defendant pursuant to

          Section 51.5-46 of the Code of Virginia; and

    I.    This Court award Plaintiff such other additional and proper relief as may be

          just and equitable.


                                          Ronald W. Waiden, Jr.




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